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 9
                                   UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                       SAN FRANCISCO DIVISION
12

13

14   UNITED STATES OF AMERICA,                      ) NO. CR 21-00294 WHO
                                                    )
15           Plaintiff,                             ) MOTION TO UNSEAL
                                                    )
16      v.                                          )
                                                    )
17   PAUL FREDRICK GIUSTI,                          )
                                                    )
18           Defendant.                             )
                                                    )
19

20           On August 13, 2021, defendant Paul GIUSTI pled guilty before this Court to a one-count
21 Information charging him with Conspiracy to Commit Honest Services Wire Fraud. Dkt 26. At the

22 request of the government, Exhibit A of the Plea Agreement, containing the factual basis for the plea,

23 was filed under seal because the government’s investigation of the facts underlying defendant GIUSTI’s

24 conduct was ongoing. There is no longer an investigative need by the government to keep defendant

25 GIUSTI’s factual admissions in Exhibit A under seal. The undersigned Assistant U.S. Attorney

26 consulted with counsel for defendant GIUSTI, who has no objection to unsealing Exhibit A.
27 //

28 //

     MOTION TO UNSEAL/PROPOSED ORDER 1
     CR 21-00294 WHO
30
 1            Therefore, the government respectfully requests that this Court order that Exhibit A to defendant

 2 GIUSTI’s plea agreement be unsealed.

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 4

 5                                                                STEPHANIE M. HINDS
                                                                  United States Attorney
 6

 7
     Dated: February 2, 2023                                      /s/ David J. Ward
 8                                                                DAVID J. WARD
                                                                  Assistant United States Attorney
 9

10 For good cause shown, it is SO ORDERED.

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12
     Dated:
13                                                                HONORABLE WILLIAM H. ORRICK
                                                                  United States District Court Judge
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     PLEA AGREEMENT                                   2                                          v. 05/14/2020
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